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 7                            IN THE UNITED STATES DISTRICT COURT

 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA

 9   JASON V. SANTIBANEZ,

10                  Petitioner,                    No. CIV S-09-0239 DAD P

11           vs.

12   JOHN HAVLIN, Warden,

13                  Respondent.                    ORDER

14                                          /

15                  Petitioner has requested the appointment of counsel. There currently exists no

16   absolute right to appointment of counsel in habeas proceedings. See Nevius v. Sumner, 105 F.3d

17   453, 460 (9th Cir. 1996). However, 18 U.S.C. § 3006A authorizes the appointment of counsel at

18   any stage of the case “if the interests of justice so require.” See Rule 8(c), Fed. R. Governing

19   § 2254 Cases. In the present case, the court does not find that the interests of justice would be

20   served by the appointment of counsel at the present time.

21                  Accordingly, IT IS HEREBY ORDERED that petitioner’s March 24, 2009 motion

22   for appointment of counsel (Doc. No. 11) is denied.

23 DATED: March 30, 2009.

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